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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11
In re:
                                                                Case No.: 19-11466 (MFW)
CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL,                                  (Jointly Administered)
et al.,1
                                                               Objections Due: August 4, 2023 at 4:00 p.m. ET
                                    Debtors.                   Hearing Date: TBD if objection filed



    NOTICE OF TWELFTH MONTHLY APPLICATION OF BERKELEY RESEARCH
       GROUP, LLC FOR ALLOWANCE OF COMPENSATION FOR SERVICES
      RENDERED AND FOR REIMBURSEMENT OF EXPENSES AS FINANCIAL
    ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
         THE PERIOD FROM JULY 1, 2022 THROUGH DECEMBER 31, 2022

         PLEASE TAKE NOTICE THAT on July 14, 2023, Berkeley Research Group, LLC

(“BRG”), as financial advisor to the Official Committee of Unsecured Creditors (the “Committee”)

of the above-captioned debtors and debtors-in-possession (the “Debtors”), filed the Twelfth

Monthly Fee Application of Berkeley Research Group, LLC for Allowance of Compensation for

Services Rendered and for Reimbursement of Expenses as Financial Advisor to the Official

Committee of Unsecured Creditors for the Period July 1, 2022 through December 31, 2022 (the

“Application”).

         PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Court’s Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses of Professionals, entered




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  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.




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August 2, 2019 [D.I. 341] (the “Interim Compensation Order”), objections, if any, to the

Application must be filed with the Clerk of the United States Bankruptcy Court for the District of

Delaware, 824 North Market Street, Wilmington, DE 19801, and be served so as to be received by

the following parties by no later than August 4, 2023 at 4:00 p.m. (prevailing Eastern time), (the

“Objection Deadline”): (a) the Debtors, Center City Healthcare, LLC, 216 North Broad Street,

Philadelphia, PA 19102 (Attn: Allen Wilen, CRO); (b) Counsel to the Debtors, Saul Ewing

Arnstein & Lehr LLP, 1201 North Market Street, Suite 2300, Wilmington, DE 19801 (Attn: Mark

Minuti, Esq. and Monique B. DiSabatino, Esq.) and 1500 Market Street, 38th Floor, Philadelphia,

PA 19102 (Attn: Jeffrey Hampton, Esq. and Adam H. Isenberg, Esq.); (c) Counsel to the

Committee, Berkeley Research Group, LLC, The Legal Center, One Riverfront Plaza, Newark, NJ

07102 (Attn: Andrew H. Sherman, Esq. and Boris I. Mankovertskiy, Esq.) and Fox Rothschild

LLP, 919 N. Market Street, Suite 300, Wilmington, DE 19899-2323 (Attn: Seth A. Niederman);

(d) the Office of the United States Trustee, District of Delaware, 844 N. King Street, Suite 2207,

Lockbox 35, Wilmington, DE 19801 (Attn: Benjamin A. Hackman, Esq.); and (e) Counsel to the

DIP Agent, Stradley, Ronon, Stevens, & Young, LLP, 2005 Market Street, Suite 2600,

Philadelphia, PA 19103 (Attn: Gretchen M. Santamour, Esq.) and 1000 N. West Street, Suite 1279,

Wilmington, DE 19801 (Attn: Joelle E. Polesky, Esq.).

        PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Interim Compensation

Order, upon expiration of the Objection Deadline, if a Notice of Objection has not been served

with respect to the Application, BRG may file a certificate of no objection (a “CNO”) with the

Court with respect to the unopposed portion of the fees and expenses requested in its Monthly

Fee Application. After a CNO is filed, the Debtors are authorized and directed to pay BRG an

amount the “Actual Monthly Payment”) equal to 80 percent of the fees and 100 percent of the



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expenses requested in the applicable Monthly Fee Application (the “Maximum Monthly

Payment”). If a Notice of Objection was timely filed and received and remains unresolved, the

Debtors are authorized and directed to pay BRG an amount (the “Reduced Monthly Payment”)

equal or lessor of (i) the Maximum Monthly Payment and (ii) 80% of fees and 100% of the

expenses not subject to a Notice of Objection.



  Dated: July 14, 2023                           FOX ROTHSCHILD LLP

                                                 /s/ Seth A. Niederman
                                                 Seth A. Niederman (SN 4588)
                                                 919 North Market Street, Suite 300
                                                 Wilmington, DE 19899-2323
                                                 Telephone: (302) 654-7444
                                                 Facsimile: (302) 656-8920
                                                 E-mail: sniederman@foxrothschild.com

                                                 Counsel to the Official Committee of
                                                 Unsecured Creditors




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